      Case 2:11-cr-00010-WHA-CSC Document 54 Filed 06/13/11 Page 1 of 1




                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF ALABAMA
                                 NORTHERN DIVISION


UNITED STATES OF AMERICA                         )

vs.                                              )   CR. NO. 2:11cr010-WHA-02

CARK HAWKINS, JR.                                )


                                            ORDER

       No timely objection having been filed to the Recommendation of the Magistrate Judge

(Doc. #47), entered on May 27, 2011, and upon a review of the file in this case, the

Recommendation is ADOPTED, and it is hereby

       ORDERED that the Defendant’s Motion to Suppress is DENIED.

       DONE this 13th day of June, 2011.



                                             /s/ W. Harold Albritton
                                             W. HAROLD ALBRITTON
                                             SENIOR UNITED STATES DISTRICT JUDGE
